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     1
     2                                                        November 30, 2017

     3                                                             VPC
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     8                     UNITED STATES DISTRICT COURT
     9        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    10
    11 WESTLAKE SERVICES, LLC d/b/a                Case No. 2:15-cv-07490 SJO (MRWx)
       WESTLAKE FINANCIAL
    12 SERVICES,                                   ORDER ON JOINT STIPULATION
                 Plaintiff,                        TO CONTINUE PRETRIAL AND
    13                                             TRIAL DATES
           vs.
    14                                             Honorable S. James Otero
       CREDIT ACCEPTANCE
    15 CORPORATION,                                Complaint Filed: September 24, 2015
    16             Defendant.
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                 ORDER ON JOINT STIPULATION TO CONTINUE PRETRIAL AND TRIAL DATES
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     1               The Court has reviewed the parties’ Joint Stipulation to Continue Pretrial and
     2 Trial Dates. Good cause appearing therefore, the Court orders as follows:
     3               1.    The jury trial in this case is continued from Tuesday, January 23, 2018
     4 to Tuesday, March 13, 2018 @ 9:00 a.m.
     5               2.    The pre-trial conference in this case is continued from Monday, January
     6 8, 2018 to Monday, February 26, 2018 @ 9:00 a.m.
     7               IT IS SO ORDERED.
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     9 DATED: November 30, 2017
    10                                          HON. S. JAMES OTERO
                                                UNITED STATES DISTRICT JUDGE
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                [PROPOSED] ORDER ON JOINT STIPULATION TO CONTINUE PRETRIAL AND TRIAL DATES
